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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  MICHELLE COOK,                                     §
           Plaintiff,                                §
                                                     §
  v.                                                 §
                                                     §
  CREDIT SYSTEMS INTERNATIONAL,                      §   4:19-CV-308-SDJ-KPJ
  INC., and RADIOLOGY ASSOCIATES                     §
  OF NORTH TEXAS, P.A.,                              §
              Defendants.                            §
                                                     §

                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the report of the United States Magistrate Judge in this action,

 this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

 On September 10, 2020, the Magistrate Judge entered proposed findings of fact and

 recommendations (Dkt. #99) that Plaintiff Michelle Cook’s (“Plaintiff”) Motion for Partial

 Summary Judgment Against Credit Systems International, Inc. (Dkt. #32) be denied and Defendant

 Credit Systems International, Inc.’s (“Credit Systems”) Cross-Motion for Summary Judgment

 (Dkt. #39) be granted in part and denied in part. The case, and the parties’ motions, concern a

 collections account (the “Collections Account”) for a debt to a medical provider that was

 incorrectly attributed to Plaintiff.

         Having received the Report of the United States Magistrate Judge, and no timely objections

 being filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

 are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

         Accordingly, Plaintiff’s Motion for Partial Summary Judgment Against Credit Systems

 International, Inc. (Dkt. #32) is DENIED, and Credit Systems’ Cross-Motion for Summary

 Judgment (Dkt. #39) is GRANTED IN PART and DENIED IN PART. Specifically, Credit
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 Systems’ Motion is granted as to Plaintiff’s claims under Section 1692e regarding Credit Systems’

 original communication of the Collections Account to the credit reporting agencies and Plaintiff’s

 claim under Section 1962f. Credit Systems’ Motion is denied as to Plaintiff’s claims under Section

 1692e regarding Credit Systems’ second communication of the Collections Account.


          So ORDERED and SIGNED this 28th day of September, 2020.




                                                           ____________________________________
                                                           SEAN D. JORDAN
                                                           UNITED STATES DISTRICT JUDGE




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